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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                            )
                                                  )     Chapter 11
TRIBUNE COMPANY, et al.,                          )
                                                  )     Case No. 08-13141 (KJC)
                                     Debtors.     )
                                                  )     Jointly Administered
                                                      Objection Deadline: 4/18/11 @ 4:00 p.m. (ET)
                                                      Hearing Date: 4/25/11 @ 1:00 p.m. (ET)

 NOTICE OF MOTION FOR CLARIFICATION THAT LEAVE IS NOT NECESSARY,
             OR IN THE ALTERNATIVE, LEAVE, TO SERVE
         SAMUEL ZELL’S MOTION FOR RELIEF UNDER RULE 9011

         PLEASE TAKE NOTICE that on March 22, 2011, Samuel Zell (“Mr. Zell”) filed the

Motion For Clarification That Leave Is Not Necessary, Or In The Alternative, Leave, To

Serve Samuel Zell’s Motion For Relief Under Rule 9011 (the “Motion”) with the United

States Bankruptcy Court for the District of Delaware, 824 Market Street, Wilmington, Delaware

19801 (the “Bankruptcy Court”). A copy of the Motion is attached hereto.

         Any responses or objections to the Motion must be made by April 18, 2011 at 4:00 p.m.

(ET) and must be served upon undersigned counsel.

         IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN ACCORDANCE

WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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        IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND SERVED

IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL BE HELD

BEFORE THE HONORABLE KEVIN J. CAREY AT THE BANKRUPTCY COURT ON

APRIL 25, 2011 AT 1:00 P.M. EASTERN TIME.



Dated: March 22, 2011             BLANK ROME LLP

                                  By: /s/ David W. Carickhoff
                                  David W. Carickhoff (DE No. 3715)
                                  Alan M. Root (DE No. 5427)
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                                         and

                                  JENNER & BLOCK LLP
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                                  Counsel for Samuel Zell




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